Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 1 of 31 PagelD: 1

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

AMY CUCCIO : CIVIL ACTION
24 Michael Avenue :

Milltown, NJ 08850 :

Plaintiff, : NO. 1:19-cv-16988

-VS-

THE HOME DEPOT USA, INC. ; PLAINTIFF REQUESTS

individually and d/b/a : TRIAL BY JURY
HOME DEPOT

1990 Route 9

Howell, NJ 07731

and

HOME DEPOT SERVICES, LLC

individually and d/b/a

HOME DEPOT

1990 Route 9

Howell, NJ 07731

THE HOME DEPOT, INC.

individually and d/b/a

HOME DEPOT

1990 Route 9

Howell, NJ 07731

and

KIM VIGNOLA (individually)
Defendants.

Plaintiff, Amy Cuccio, by and through undersigned counsel hereby files this Civil Action
Complaint against Defendants, The Home Depot USA, Inc. individually and d/b/a Home Depot,
Home Depot Services, LLC individually and d/b/a Home Depot, The Home Depot, Inc.
individually and d/b/a Home Depot, and Kim Vignola (individually) (collectively “Defendants”)

and upon information and belief avers the following:
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 2 of 31 PagelD: 2

PARTIES

1. Plaintiff, Amy Cuccio (“Plaintiff’ or “Ms. Cuccio”) is an adult individual who
resides in the State of New Jersey with an address for the purposes of service at 24 Michael
Avenue, Milltown, New Jersey 08850.

2. Defendant, The Home Depot USA, Inc. individually and d/b/a Home Depot is a
business organization existing under the laws of the State of New Jersey with an address for the
purposes of service 1990 Route 9, Howell, New Jersey 07731.

3. Defendant, Home Depot Services, LLC is a business organization existing under
the laws of the State of New Jersey with an address for the purposes of service 1990 Route 9,
Howell, New Jersey 07731.

4. Defendant, The Home Depot, Inc., is a business organization existing under the
laws of the State of New Jersey with an address for the purposes of service 1990 Route 9,
Howell, New Jersey 07731.

5. Defendant, Kim Vignola is an adult individual who resides in the State of New
Jersey with a business address for the purpose of service at 1990 Route 9, Howell, New Jersey
07731.

6. At all times relevant to this Civil Action, Defendant, Kim Vignola was an
employee of Defendants, The Home Depot USA, Inc. individually and d/b/a Home Depot, Home
Depot Services, LLC individually and d/b/a Home Depot, The Home Depot, Inc. individually
and d/b/a Home Depot, and held supervisory authority over Plaintiff, Amy Cuccio during

Plaintiff's employment for Defendants.
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 3 of 31 PagelD: 3

7. Defendants, The Home Depot USA, Inc. individually and d/b/a Home Depot,
Home Depot Services, LLC individually and d/b/a Home Depot, The Home Depot, Inc.

individually and d/b/a Home Depot was Plaintiff's joint and sole employer.

NATURE OF THE CASE
8. Plaintiff complains pursuant to the Americans with Disabilities Act of 1990, 42
U.S.C. § 12101, et. seg. (“ADA”); the Age Discrimination in Employment Act of 1967, 29
U.S.C, § 621, et seg. (“ADEA”); the Family and Medical Leave Act of 1993, 29 U.S.C § 2611,
et seq. (“FMLA”); the New Jersey Law Against Discrimination (“NJLAD”), and seeks damages
to redress injuries Plaintiff suffered as a result of Defendants’ discrimination, harassment, hostile
work environment, and retaliation for reporting and opposing said discrimination and harassment

in the workplace which led to Plaintiff's unlawful termination from her employment with

Defendants.

JURISDICTION AND VENUE

9, This action involves a Question of Federal Law under the Americans with
Disabilities Act (“ADA”), the Age Discrimination and Employment Act (“ADEA”), and the
Family and Medical Leave Act (“FMLA”).

10. The honorable Court has supplemental jurisdiction over the State Law Cause of
Action,

ri. Venue is proper in the District of New Jersey as Plaintiff was employed by
Defendants and worked in the County of Monmouth, New Jersey where the discrimination,

harassment, hostile work environment, and retaliation complained of occurred.
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 4 of 31 PagelD: 4

12. On or around December 18, 2018, Plaintiff filed a Charge of Discrimination with
the Equal Employment Opportunity Commission (“EEOC”) against Defendants as set forth
herein. Plaintiff's Charge of Discrimination was dual filed with the New Jersey Division on
Civil Rights.

13. On or about May 22, 2019, the EEOC issued to Plaintiff a Dismissal and Notice
of Rights.

14. This action is hereby commenced within ninety (90) days of receipt of the
Dismissal and Notice of Rights which is dated May 22, 2019.

MATERIAL FACTS

15. Plaintiff, Amy Cuccio began her employment for Defendants twenty-three (23)
years ago in 1995,

16. Plaintiff, Amy Cuccio worked in the corporate office for Defendants for
approximately twenty (20) years. Plaintiff, Amy Cuccio began in data entry and worked hard to
moved up through the ranks until Plaintiff, Amy Cuccio was the Executive Assistant for the
Regional Vice President.

17. During her employment for Defendants, Plaintiff, Amy Cuccio performed duties
including opening Villagers Hardware and Closing Villagers Hardware.

18. Plaintiff, Amy Cuccio also assisted with Expo which was Home Depot’s high-end
stores. Ms. Cuccio was also involved with closing the Expo Stores.

19. Plaintiff, Amy Cuccio spent time in Merchandising Administration where she
worked with merchants who placed orders for products carried in Home Depot stores and

Venders who supplied the merchandise sold at Home Depot Stores.
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 5 of 31 PagelD: 5

20. Plaintiff, Amy Cuccio also was a Human Resources Administrator for over one
(1) year. Ms. Cuccio returned to Regional Merchandising Administration before Ms. Cuccio
settled as the Executive Assistant to the Regional Vice President in 2012.

21, Sometime around 2012, Plaintiff, Amy Cuccio became the Executive Assistant to
the Regional Vice President, Scott Murry.

22. Sometime around 2014 Scott Murry left the position and Ro Rodriguez became
the Regional Vice President of New Jersey Metro.

23. Instead of allowing Plaintiff, Amy Cuccio to remain in the position of Executive
Assistant to the new Regional Vice President, a position Plaintiff Amy Cuccio had excelled in
for several years, Ms. Cuccio was informed she had to interview for the position in order to
remain in the position.

24. Defendants refused to explain to Plaintiff, Amy Cuccio why she was forced to
interview for a position she held for the previous three (3) years, however, Plaintiff, Amy Cuccio
complained and interviewed for her own position.

Za: Plaintiff, Amy Cuccio was evaluated as the second place candidate behind Cheryl
Vietri, according to Regional Human Resources Manager, Robert Silk.

26. Cheryl Vietri accepted the position and Plaintiff, Amy Cuccio was left without a

position.

27. After approximately one (1) week, Plaintiff, Amy Cuccio was offered a position

as an Assistant Store Manager.

28. Plaintiff, Amy Cuccio was offered the position of Assistant Store Manager

assigned to the Bridgewater, New Jersey store.
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 6 of 31 PagelD: 6

29. Around the same time that Plaintiff, Amy Cuccio was offered the position of
Assistant Store Manager of the Bridgewater Store, Cheryl Vietri stepped down from the position
of Executive Assistant to the Regional Vice President.

30. Upon information and belief the position held too much responsibility for Cheryl
Vietri and therefore, Cheryl Vietri requested a reassignment to her previous role at Home Depot.

31. Plaintiff, Amy Cuccio was the second-place applicant for the position of
Executive Assistant to the Regional Vice President, who at that time was Ro Rodriguez.
Moreover, Plaintiff, Amy Cuccio had held and excelled in the position of Executive Assistant to
the Regional Vice President for the past two to three years .

32. Notwithstanding Plaintiff, Amy Cuccio’s tenure, experience, and job history,
Defendants refused to offer Ms. Cuccio the position of Executive Assistant to the Regional Vice
President.

33. Defendants refused to consider that Plaintiff, Amy Cuccio interviewed for the
position and was the second place candidate.

34. Defendants refused to consider that Plaintiff, Amy Cuccio held the position of
Executive Assistant to the Regional Vice President from 2012 through 2014.

35. Plaintiff, Amy Cuccio was therefore forced to transition to a new role as the
Assistant Store Manager at the Bridgewater, New Jersey store.

36. Prior to assuming full responsibilities as the Assistant Store Manager at the
Bridgewater Store, Plaintiff, Amy Cuccio participated in a process called assimilation.

37. Assimilation is a training period which Plaintiff Amy Cuccio participated in to

assist with the transition to a new and entirely different role with Defendants.
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 7 of 31 PagelD: 7

38. Despite Plaintiff, Amy Cuccio’s extensive experience with Home Depot, Plaintiff
had always worked in the corporate offices for Defendants. Plaintiff had not worked in a store
location until 2014 when Plaintiff transitioned to a position as an Assistant Store Manager at the
Bridgewater Store.

39. From September 2014 until March 2015, Plaintiff, Amy Cuccio trained and
learned the position of Assistant Store Manager.

40. In March 2015, Plaintiff, Amy Cuccio was reassigned to Store Number 0933, also
known at the Howell, New Jersey Store.

4], When Plaintiff, Amy Cuccio was reassigned to Store Number 0933, Defendant,
Kim Vignola became Plaintiff, Amy Cuccio’s direct supervisor.

42. Defendant, Kim Vignola was the Store Manager of Store 0933, also known at the
Howell, New Jersey Store.

43. When Plaintiff, Amy Cuccio worked in the corporate offices for Home Depot, her
schedule required Ms. Cuccio to work Monday through Friday from approximately 8:00 A.M.
until 5:00 P.M.

44. Plaintiff, Amy Cuccio’s hours changed drastically upon transitioning to the new
position as Assistant Store Manager.

45. The two jobs were very different. Plaintiff, Amy Cuccio went from working as
an Executive Assistant to the Regional Vice President to playing an integral role in running a

retail Home Depot store.

46. At all times material to this Charge, Defendant, Kim Vignola harassed Plaintiff,

Amy Cuccio because of Ms. Cuccio’s age.
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 8 of 31 PagelD: 8

47. Defendant, Kim Vignola was outspoken in her discrimination and harassment of
Plaintiff, Amy Cuccio due to Plaintiffs age.

48. Defendant, Kim Vignola made statements such as, “‘at your age, I don’t think I
would recommend that someone get into retail.”

49. Defendant Kim Vignola subjected Plaintiff, Amy Cuccio to discrimination and
harassment through severe and pervasive discrimination and harassment in the workplace.
Defendant, Kim Vignola made comments such as “retail is tough for someone who is fifty (50)
years old.

50. Defendant, Kim Vignola subjected Plaintiff, Amy Cuccio to age-based insults
when addressing Plaintiff, Amy Cuccio by telling Ms. Cuccio to “stop blubbering.”

51. After Plaintiff, Amy Cuccio gave a presentation, Defendant, Kim Vignola
informed Plaintiff, Amy Cuccio, “you were blubbering at the presentation.”

52. Blubbering was used as an age based insult to embarrass and ridicule Plaintiff,
Amy Cuccio.

53. Defendant Kim Vignola’s comments and conduct evidenced Defendant, Kim
Vignola’s age-based animus for Plaintiff, Amy Cuccio.

54. Defendant, Kim Vignola stated, “I would never recommend someone who is fifty
(50) go into retail.”

55. Defendant, Kim Vignola constantly harassed Plaintiff, Amy Cuccio. Defendant,
Kim Vignola followed Plaintiff, Amy Cuccio throughout the store and insulted Plaintiff, Amy

Cuccio, and otherwise bullied and abused Plaintiff, Amy Cuccio,
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 9 of 31 PagelD: 9

56. Defendant, Kim Vignola did not harass or otherwise treat Plaintiff, Amy Cuccio’s
similarly situated younger employees in the same discriminatory manner in which Defendant,
Kim Vignola treated Plaintiff, Amy Cuccio.

57. Due to Plaintiff, Amy Cuccio’s experience, and time with the company, Plaintiff
Amy Cuccio earned a compensation package that made her one of the highest paid Assistant
Store Managers in the district.

58. Plaintiff, Amy Cuccio earned almost as much money as Defendant, Kim Vignola.

59. Defendant, Kim Vignola’s comments and conduct indicated Defendant, Kim
Vignola believed Plaintiff, Amy Cuccio was overpaid.

60. Defendant, Kim Vignola made disparaging comments about Plaintiff, Amy
Cuccio’s compensation package on a regular basis.

61. Defendant, Kim Vignola’s discrimination and harassment was severe and
pervasive and created a hostile work environment for Plaintiff, Amy Cuccio.

62. Defendant, Kim Vignola worked to deprive Plaintiff, Amy Cuccio of bonuses and
benefits that Ms. Cuccio earned.

63. Defendant, Kim Vignola discriminated and harassed Ms. Cuccio on a daily basis.

64. Defendant, Kim Vignola executed a strategy to deprive Plaintiff, Amy Cuccio of
a salary increase for the year 2017.

65. Plaintiff Amy Cuccio only received a one (1) percent increase in her salary in
2018. This is the smallest salary increase allowed by Defendants. This was caused by
Defendant, Kim Vignola’s discriminatory Animus and the discrimination and harassment to

which Defendant, Kim Vignola subjected Plaintiff, Amy Cuccio during Plaintiff's employment

for Defendants.
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 10 of 31 PagelD: 10

66. Defendant, Kim Vignola screamed at Plaintiff, Amy Cuccio and embarrassed and
ridiculed Plaintiff in front of Plaintiffs coworkers.

67. Defendant, Kim Vignola did not yell or scream at Plaintiff's similarly situated
male employees under the age of forty.

68. Defendant Kim Vignola constantly ordered Plaintiff, Amy Cuccio into her office
and proceeded to berate Ms. Cuccio.

69. Defendant, Kim Vignola was require Plaintiff, Amy Cuccio to sit in her office for
long extended period of time while Defendant, Kim Vignola was harass and berate Plaintiff,
Amy Cuccio. Defendant, Kim Vignola went on long ranting diatribes insulting and ridiculing
Plaintiff, Amy Cuccio.

70. Plaintiff, Amy Cuccio’s co-workers noticed Defendant, Kim Vignola’s daily
harassment and abuse to which Defendant, Kim Vignola subjected Plaintiff, Amy Cuccio during
Plaintiff's employment for Defendants.

71. Accordingly, Ms. Cuccio’s co-workers supported Plaintiff, Amy Cuccio by with
comments such as “keep your head up Amy” and “don’t let her get you down.”

72, While it was nice to have their support, these comments were highly embarrassing
to Plaintiff, Amy Cuccio as they indicated Defendant, Kim Vignola’s discrimination, harassment
and age-based animus,

73. Defendant, Kim Vignola spent so much time harassing and bullying Plaintiff,
Amy Cuccio that there were days when Plaintiff, Amy Cuccio spent more time in Defendant,

Kim Vignola’s subjected to ridicule and criticism then Plaintiff, Amy Cuccio spent on the floor

performing her job duties.

10
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 11 of 31 PagelD: 11

74, Defendant, Kim Vignola would not allow Plaintiff, Amy Cuccio to simply
perform her job. Defendant, Amy Cuccio ordered Plaintiff into her office and held Plaintiff
there during Plaintiff scheduled working hours.

75. Defendant, Kim Vignola criticized, condescended, and verbally abused Plaintiff
Amy Cuccio despite Ms. Cuccio’s continued success at the Specialty Assistant Store Manager.

76. Defendant, Kim Vignola labeled this treatment as “ripping the band aid off.”
Defendant, Kim Vignola made comments such as, “I got to just rip off the band aid.”

77, Whenever Defendant, Kim Vignola would “rip off the band-aid,” Defendant, Kim
Vignola would subject Plaintiff, Amy Cuccio to severe and pervasive discrimination and
harassment based upon her age.

78. Despite Defendant, Kim Vignola’s daily discrimination and harassment targeting
Plaintiff, Amy Cuccio, Ms. Cuccio excelled. In fact, Ms. Cuccio brought her sales numbers up
until she was number one in the District.

79. There are eleven (11) Home Depot Retail stores in Plaintiff, Amy Cuccio’s

District.

80. The District where Plaintiff, Amy Cuccio was assigned to work is called District
105 in the Home Depot metrics.

81. At the time of Plaintiff, Amy Cuccio’s unlawful termination, Amy Cuccio was
number one (1) for the metrics which measured Special Assistant Store Managers’ performance.

82. Plaintiff, Amy Cuccio increased her metrics until she was the number-one Special

Assistant Store Manager in the District.

11
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 12 of 31 PagelD: 12

83. The stated reason for Plaintiff, Amy Cuccio’s termination is nothing more than a
pretext to hide and mask Defendants discriminatory termination which was based upon
Defendants’ age-based animus.

84. Defendants claim to have terminated Plaintiff, Amy Cuccio for failing to file a
claim in a timely fashion. By no means was this a terminable offense.

85. Defendants have never terminated a Specialty Assistant Store Manager for filing a
late claim. Plaintiff, Amy Cuccio was the first Specialty Store Manager who was filed for filing
a late claim.

86. There are at least two other Assistant Store Managers who filed late claims.
These were Plaintiffs similarly situated coworkers who were younger than Plaintiff.

87. None of Plaintiffs younger similarly situated coworkers were discharged or
otherwise disciplined for filing a late claim.

88. Plaintiff's similarly situated younger coworkers were males in their thirties.

89. Plaintiff’s similarly situated younger coworkers were promoted or otherwise
received increases in salary, and/or bonuses pursuant to filing late claims.

90. Plaintiff, Amy Cuccio, a female in her fifties (50s) was terminated for the same
issue,

91. Based upon Defendant, Kim Vignola’s age-based comments, that someone in
their fifties could not perform the job duties of an Assistant Store Manager, Plaintiff, Amy
Cuccio attempted to identify a solution.

92. Plaintiff, Amy Cuccio visited Home Depot’s webpage at CareerBuilder.com and
noticed two job postings for hourly positions in the corporate office.

93. Plaintiff, Amy Cuccio began experiencing back problems in 2016.

12
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 13 of 31 PagelD: 13

94. Plaintiff, Amy Cuccio visited a neurosurgeon who recommended surgery and
Plaintiff underwent a lumbar spinal fusion in April 2018.

95. Plaintiff, Amy Cuccio submitted paperwork for FMLA leave as Ms. Cuccio’s
surgery was scheduled for April 10, 2018.

96. Plaintiff, Amy Cuccio’s FMLA leave was approved and Plaintiff, Amy Cuccio
utilized ten weeks of FMLA time.

97. Plaintiff, Amy Cuccio notified Defendant, Kim Vignola that Plaintiff, Amy
Cuccio had surgery scheduled for April 10, 2018.

98. Defendant, Kim Vignola expressed and/or displayed her disapproved of Plaintiff,
Amy Cuccio’s request for FMLA leave.

99. Upon return, Defendant Kim Vignola harassed and retaliated against Plaintiff,
Amy Cuccio related to Plaintiff's FMLA leave.

100. Defendant, Kim Vignola stated numerous times, “I can’t believe that you only
gave me a week’s notice before you took time off.”

101. Defendant, Kim Vignola took time off twice and provided less notice than
Plaintiff, Amy Cuccio.

102. Defendant, Kim Vignola’s comments and conduct subjected Plaintiff to
discrimination and harassment based upon Plaintiffs age and retaliation for Plaintiff lawful use
of the FMLA.

103. Immediately upon Plaintiff, Amy Cuccio’s return from FMLA leave, Defendant,

Kim Vignola provided Plaintiff, Amy Cuccio a disciplinary measure called a counseling.

13
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 14 of 31 PagelD: 14

104. The counseling that Defendant, Kim Vignola provided to Plaintiff, Amy Cuccio
upon Plaintiffs return from FMLA leave was witnessed by another Store Manager, Alison
Tucci.

105. A counseling is a serious disciplinary measure as it changes the status of the
employee who is counseled. Accordingly, when Defendant, Kim Vignola counseled Plaintiff,
Amy Cuccio upon Plaintiff's return from her FMLA leave, Defendant, Kim Vignola harassed
and retaliated against Plaintiff by providing Plaintiff with a counseling.

106. Once a Home Depot employee is provided with a counseling, termination is
eminent. This was Defendant, Kim Vignola’s intend and the reason that Defendant, Kim
Vignola issued the counseling.

107. Defendant, Kim Vignola’s stated reason for the counseling was pretext.

108. Defendant, Kim Vignola counseled Plaintiff as discrimination and harassment and
in retaliation for Plaintiff's lawful use of the FMLA.

109. The counseling reason that Defendant, Kim Vignola provided to Plaintiff was
“lack of knowledge.”

110. The timing of this counseling indicated discrimination and retaliation as it
occurred within days of Plaintiff, Amy Cuccio’s return from a ten-week FMLA leave.

111. Defendant, Kim Vignola’s accusations and the counseling was not warranted as
Plaintiff, Amy Cuccio’s sales numbers and performance metrics were steadily improving at the
time of the counseling.

112. In and around the time that Plaintiff, Amy Cuccio received the counseling,

Plaintiff, Amy Cuccio was the number two Specialty Store Manager in the District.

14
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 15 of 31 PagelD: 15

113. At the time of Plaintiff, Amy Cuccio’s unlawful termination, she was the number
one Specialty Store Manager in the District.

114. As Plaintiff, Amy Cuccio was employed for approximately twenty (20) years in
the corporate office, Ms. Cuccio believed that a reassignment to the corporate office might offer
an acceptable solution and help Plaintiff avoid any further discrimination, harassment and
retaliation from Defendant, Kim Vignola.

115. Plaintiff, Amy Cuccio exercised self help in an effort to find a solution whereby
Plaintiff could continue her twenty (20) year career with Home Depot and still avoid the severe
and pervasive discrimination and en to which Plaintiff was subjected by Defendant,
Kim Vignola.

116. Transferring to the corporate office may even have required that Plaintiff's wages
were reduced. Still, Plaintiff considered and attempted to locate a job in corporate.

117. Plaintiff's objective was to continue her twenty (20) year career with Home Depot
while finding a solution that would allow Plaintiff to avoid the severe and pervasive
discrimination and harassment to which she was subjected by Defendant, Kim Vignola.

118. Plaintiff, Amy Cuccio tried to obtain approval from the District Human Resources
Manager, Jenifer Fuller, for a transition back to the corporate offices.

119. Jenifer Fuller works closely with Defendant Kim Vignola.

120. On November 27, 2018, and then again on November 28, 2018, Plaintiff, Amy
Cuccio spoke with Jenifer Fuller about applying for a position in the corporate office.

121. Jenifer Fuller responded to Plaintiff's inquiries about transitioning to the

corporate office by stating, “well we can’t stop you from applying, and we can’t stop them from

considering you.”

15
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 16 of 31 PagelD: 16

122. Jenifer Fuller’s response, that “we can’t stop you from applying” clearly indicated
Jenifer Fuller’s disapproval.

123. Defendants including Defendant, Kim Vignola and employee Jenifer Fuller found
a way to stop Plaintiff, Amy Cuccio from applying and corporate from considering Plaintiff,
Amy Cuccio for a position in the corporate office

124. Defendants terminated Plaintiff's employment.

125. The reason for Plaintiff's termination was nothing but pretext.

126. Plaintiff, Amy Cuccio applied for two positions in Home Depot’s corporate office
the last week of November 2018.

127. Plaintiff, Amy Cuccio notified Jenifer Fuller that she applied for both positions,
as obtaining the positions required coordination with Plaintiffs current supervisors.

128. On November 30, 2018, Peter Cancelmo, responding to Plaintiff, Amy Cuccio’s
applications, and contacted Plaintiff, Amy Cuccio by telephone.

129. Peter Cancelmo notified Plaintiff, Amy Cuccio that is was considering her for

both positions.

130. Peter Cancelmo scheduled an interview with Plaintiff, Amy Cuccio for December

5, 2018.

131. Monday, December 3, 2018, Plaintiff, Amy Cuccio arrived at work at her

scheduled time. Upon arrival, Defendant, Kim Vignola would not even look at Plaintiff, Amy

Cuccio.

132. One of Plaintiff, Amy Cuccio’s co-workers warned Plaintiff, Amy Cuccio, “Kim

Vignola is in rare form today so watch out.”

16
Case 3:19-cv-16988-MAS-ZNQ Document 1 Filed 08/20/19 Page 17 of 31 PagelD: 17

133. Soon thereafter, Defendant, Kim Vignola found Plaintiff, Amy Cuccio and stated,
“do you have a minute?”

134. Plaintiff, Amy Cuccio followed Defendant, Kim Vignola to Kim Vignola’s office.

135. Upon arriving at Defendant, Kim Vignola’s office, Plaintiff, Amy Cuccio noticed
that another Store Manager named Alison Tucci was present. Immediately, Plaintiff, Amy
Cuccio realized that Defendant, Kim Vignola was about to terminate Plaintiff, Amy Cuccio’s
employment because of Plaintiff, Amy Cuccio’s age and in retaliation for Plaintiffs lawful use
of the FMLA.

136. The stated reason for Plaintiff, Amy Cuccio’s termination was because Plaintiff,
Amy Cuccio did not file a claim on time.

137. Defendant, Kim Vignola stated at the termination meeting, “well, you didn’t file
the claim on time.”

138. Defendants’ stated reason is nothing more than a pretext to hide Defendants’
discriminatory animus and real motive for terminating Plaintiff's employment.

139. Plaintiff, Amy Cuccio said to Defendant, Kim Vignola, “Really! You are going to
terminate me today? You knew that I had applied for another position. You could not let me
step down? You had to do this today?”

140. Defendant, Kim Vignola smiled and said, “I am going to need your keys.”

141. Defendant, Kim Vignola celebrated the termination of Plaintiff, Amy Cuccio by
skipping through the store, smiling and acting giddy.

142. Defendants terminated Plaintiff, Amy Cuccio for filing a late claim charge and the

store was never even charged for a late claim. Defendants terminated Plaintiff because of

17
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 18 of 31 PagelD: 18

Plaintiff's age, disability, FMLA leave and retaliation for opposing and reporting the
discrimination and harassment in the workplace.

143.  Atall times, Defendants discriminated against Plaintiff, Amy Cuccio because of
Plaintiff, Amy Cuccio’s age, disability and in retaliation for Plaintiff, Amy Cuccio’s reports of
discrimination and harassment in the workplace.

144. Defendants maintain a policy for termination of an employee which requires a
four-step process: (1) coaching, (2) counseling, (3) final, (4) termination.

145. Defendant, Kim Vignola made the decision to terminate Plaintiff, Amy Cuccio
based on Defendant, Kim Vignola’s discriminatory age-based animus.

146. Defendant, Kim Vignola voiced her discriminatory ideas that Plaintiff, Amy
Cuccio’s age was an impediment to successfully fulfilling her job requirements,

147. Accordingly, Defendant, Kim Vignola initiated the process of terminating
Plaintiff, Amy Cuccio in February 2018 when Defendant, Kim Vignola provided Plaintiff with a

counseling.

148. The stated reason for the counseling was due to Plaintiff, Amy Cuccio’s numbers/

sales metrics.
149, Plaintiff, Amy Cuccio steadily improved her numbers until she was the number
one Specialty Store Manager in the District.

150. Therefore, Defendant, Kim Vignola had to come up with some other pretext for

terminating Plaintiff, Amy Cuccio.

151. Defendant, Kim Vignola decided to blame Plaintiff's termination of filing a late

charge that was never even charged to the store.

18
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 19 of 31 PagelD: 19

152. Asaresult of Defendants’ conduct, Plaintiff was caused to sustain serious and
permanent personal injuries, including permanent psychological injuries.

153. Asaresult of Defendants’ actions, Plaintiff felt extremely humiliated, degraded,
victimized, embarrassed and emotionally distressed.

154.  Asaresult of the acts and conduct complained of herein, Plaintiff has suffered
and will continue to suffer the loss of income, the loss of salary, bonuses, benefits and other
compensation which such employment entails.

155. Plaintiff also suffers future pecuniary losses, emotional pain, humiliation,
suffering, inconvenience, loss of enjoyment of life, and other non-pecuniary losses.

156. Plaintiff has further experienced severe emotional and physical distress including
physical manifestations of Plaintiff's emotional distress.

157. As Defendants’ conduct has been malicious, willful, outrageous, and conducted
with full knowledge of the law, Plaintiff demands Punitive Damages as against all the
Defendants, jointly and severally.

158. Defendants discrimination and harassment of Plaintiff, Amy Cuccio was severe
and pervasive and subjected Plaintiff to a hostile work environment.

159. Defendants have exhibited a pattern and practice of not only discrimination but
also retaliation.

160. Defendants at all times refused to investigate or take appropriate remedial action
in response to Plaintiff's opposition to, reports of and complaints of discrimination, harassment

and hostile work environment.

161. Defendants discriminatory conduct was severe and pervasive, creating a hostile

work environment for Plaintiff.

I$
Case 3:19-cv-16988-MAS-ZNQ Document 1 Filed 08/20/19 Page 20 of 31 PagelD: 20

162. The above are just some examples, of some of the discrimination and retaliation
to which Defendants subjected Plaintiff.

163. Plaintiff claims a practice of discrimination and claims continuing violations and
makes all claims herein under the continuing violations doctrine.

164. Defendants have exhibited a pattern and practice of not only discrimination but

also retaliation.

165. Plaintiff, Amy Cuccio claims unlawful termination and requests reinstatement.

FIRST CAUSE OF ACTION
DISCRIMINATION UNDER
AMERICANS WITH DISABILITIES ACT
(Against Corporate Defendants Only)

166. Plaintiff, Amy Cuccio, hereby incorporates all allegations contained in paragraphs
one (1) through one-hundred-sixty-five (165) as fully as if they were set forth at length.

167. Title 42 of the Americans with Disabilities Act of 1990 (Pub. L. 101-336),
Chapter 126, Subchapter I, § 12112, Discrimination [Section 102] states: “(a) General rule. — No
covered entity shall discriminate against a qualified individual on the basis of disability in regard
to job application procedures, the hiring, advancement, or discharge of employees, employee
compensation, job training, and other terms, conditions, and privileges of employment.”

168. Defendants engaged in an unlawful discriminatory practice by discriminating
against Plaintiff because of her disabilities.

169. From the time her medical condition began to the day of her termination; Plaintiff

was capable of performing the duties and job requirements of her position.

170. Plaintiff is a “qualified individual with a disability” as defined in 42 U.S.C. §

12131(2).

20
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 21 of 31 PagelD: 21

171. From the time her medical condition presented to the day of her termination;
Plaintiff attempted to engage Defendants in an interactive process to discuss reasonable
accommodations,

172. Defendant terminated Plaintiff because of her disability.

173. Such adverse employment action by Defendant were in violation of the ADA.

174. Following Defendant’s termination of Plaintiff, Plaintiff was replaced by a non-
disabled individual.

175. Asaresult of Defendant’s actions, Plaintiff has suffered irreparable injuries,
including but not limited to loss of pay, benefits and other economic losses, emotional pain and
suffering, mental anguish, humiliation, embarrassment, personal indignity and other intangible
injuries for all of which she should be compensated.

176. Plaintiff also claims unlawful retaliation under the ADA for her opposition to
Defendant’s unlawful employment practice.

177. Plaintiff makes claims for all damages available under the ADA.

SECOND CAUSE OF ACTION
RETAILIATION UNDER
AMERICANS WITH DISABILITIES ACT
(Against Corporate Defendants Only)

178. Plaintiff, Amy Cuccio, hereby incorporates all allegations contained in paragraphs
one (1) through one-hundred-seventy-seven (177) as fully as if they were set forth at length.

179. SEC. 12203. [Section 503] states, “(a) Retaliation. — No person shall discriminate
against any individual because such individual has opposed any act or practice made unlawful by

this chapter or because such individual made a charge, testifies, assisted, or participated in any

manner in an investigation, proceeding, or hearing under this chapter.

21
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 22 of 31 PagelD: 22

180. Defendants violated the above and Plaintiff suffered numerous damages as a

result.
181. Defendants retaliated against Plaintiff when Plaintiff opposed Defendants

discriminatory animus to which Plaintiff was subjected during her employment.

THIRD CAUSE OF ACTION
DISCRIMINATION UNDER THE AGE
DISCRIMINATION IN EMPLOYMENT ACT
(Against Corporate Defendants Only)

182. Plaintiff, Amy Cuccio, hereby incorporated all allegations contained in

paragraphs one (1) through one-hundred-eighty-one (181) as fully as if they were set forth at

length,

183. Section 626 of the ADEA provided it shall be unlawful for an employer:

(1) to fail or refuse to hire or to discharge any individual or
otherwise discriminate against an individual with respect to
their compensation, terms, conditions or privileges of
employment, because of such individual’s age;

(2) to limit, segregate, or classify their employees in any way
which would deprive or tent to deprive any individual of
employment opportunities or otherwise adversely affect his
status as an employee, because of such individual’s age; or

(3) to reduce the wage rate of any employee in order to comply
with this chapter,

(4) It Shall be unlawful for an employment agency to fail or
refuse to refer for employment, or otherwise to discriminate
against, any individual because of such individual’s age, or
to classify or refer for employment any individual on the
basis of such individual’s age.

184. Defendants engaged in unlawful employment practices prohibited by Section 626

of the ADEA by discriminating against Plaintiff because of her age.

22
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 23 of 31 PagelD: 23

185. Defendants’ age based comments and conduct were severe and pervasive and
occurred on a daily and/or weekly basis so that Plaintiff could not escape the discrimination and
harassment in the workplace.

186. Accordingly, Plaintiff was subjected to a hostile work environment due to
Plaintiff's age.

187. Defendants’ conduct was severe in that Defendants engaged in acts of
discrimination and harassment whereby a single act of Defendants’ harassment was sufficient to
create a hostile work environment.

188. Defendants’ conduct was pervasive in that Defendants continually subjected
Plaintiff to abuse, ridicule, insults, criticism, contempt, and scorn, day after day so that Plaintiff

was forced to endure age-based discrimination and harassment in the workplace on a daily and/or

weekly basis.

FOURTH CAUSE OF ACTION
RETALIATION UNDER THE AGE
DISCRIMINATION IN EMPLOYMENT ACT
(Against Corporate Defendants Only)

189. Plaintiff, Amy Cuccio, hereby incorporates all allegation contained in paragraphs
one (1) through one-hundred-eighty-eight (188) as fully as if they were set forth at length.

190. Section 623 (d) of the ADEA states the following:

“Tt shall be unlawful for an employer to discriminate against any
of his employees or applicants for employment, for an employment
agency to discriminate against any individual, or for a labor
organization to discriminate against any member thereof or applicant
for membership, because such individual, member or applicant for
membership has opposed any practice made unlawful by this section,
or because such individual, member or application for membership has
made a charge, testified, assisted, or participated in any manner in an
investigation, proceeding, or litigation under this chapter.”

23
Case 3:19-cv-16988-MAS-ZNQ Document 1 Filed 08/20/19 Page 24 of 31 PagelD: 24

191. Defendants violated Section 623 (d) of the ADEA because Defendants
discriminated against Plaintiff due to Plaintiff's complaints of Defendants’ unlawful
employment practices as previously set forth herein.

192. Plaintiff opposed and/or reported the continual discrimination and
harassment in the workplace and Defendants conduct continued and ratcheted up.

193. Moreover, Plaintiff was subjected to diciplinary measures such as
counseling and termination after Plaintiff opposed and/or reported the discrimination

and harassment in the workplace.

FIFTH CAUSE OF ACTION
VIOLATION OF THE FMLA
INTERFERENCE AND RETALIATION
(against all Defendants)

194. Plaintiff, Amy Cuccio, hereby incorporated all allegations contained in
paragraphs one (1) through one-hundred-ninety-four (194) as fully as if they were set forth at
length.

195. § 2612 of the FMLA states in pertinent part:

(a) In General
1. Entitlement to leave
Subject to section 2613 of this title, an eligible employee shall be entitled
to a total of 12 work weeks of leave during any 12-month period of one or

more of the following:

a. Because of the birth of son or daughter of the employee and in

order to care for such son or daughter.

24
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 25 of 31 PagelD: 25

b. Because of the placement of the son or daughter with the employee
for adoption or foster care.

c. In order to care for the spouse, or a son, daughter, or parent, of the
employee if such spouse, or a son, daughter, or parent has a serious
health condition.

d. Because of a serious health condition that makes the employee
unable to perform the functions of the position of such employee.

196. Defendants violated Plaintiff's rights under the FMLA by interfering with
Plaintiff's leave by failing to advise Plaintiff of her rights as afforded by the FMLA.

197. Defendants, by and through its managers, officials, and employees, by acts or
representations intentionally or through culpable negligence failed to inform Plaintiff of any
rights, privileges, and protections offered through the FMLA.

198. Defendants violated Plaintiff's rights by failing to provide her with appropriate

leave there under.
199. § 2615 of the Act states as follows: Prohibited acts
(a) Interference with rights
1. Exercise of rights:
It shall be unlawful for any employer to interfere with, restrain, or deny

the exercise of or the attempt to exercise, any right provided under the

subchapter.

2. Discrimination:

25
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 26 of 31 PagelD: 26

It shall be unlawful for any employer to discharge or in any other manner
discriminate against any individual for opposing nay practice made
unlawful by this subchapter.

200. Defendants interfered with Plaintiff's rights under the above section and
discriminated against Plaintiff by refusing to allow Plaintiff to utilize the leave provided by the
Act and instead discharged Plaintiff from employment.

201. Defendants did not satisfy the notice requirements of the FMLA. Accordingly,
Defendants interfered with Plaintiffs rights under the FMLA by failing to notify Plaintiff of her

rights under the FMLA; including the right to be make use of the afforded leave.

SIXTH CAUSE OF ACTION
DISCRIMINATION UNDER
STATE LAW (“NJLAD”)
(Against All Defendants)
202. Plaintiff, Amy Cuccio, hereby incorporated all allegations contained in
paragraphs one (1) through two-hundred-one (201) as fully as if they were set forth at length.
203. Defendants, The Home Depot USA, Inc. individually and d/b/a Home Depot and
Home Depot Services, LLC are an employer under the New Jersey Law Against Discrimination
(“NJLAD”) because they are an entity, origination, and/or corporation. N.J.S.A. 10:5-5(e).
204. Defendant, Kim Vignola is also an employer and/or subject to liability under the
NJLAD because she is a person or an individual. N.J.S.A. 10:5-5(a).
205. The NJLAD makes it an unlawful employment practice, among others, for an

employer because of race, creed, color, national origin, ancestry, age, marital status, ect. ...

discrimination against such individual in compensation or in terms, conditions or privileges of

employment. N.J.S.A. §10:5-12.

26
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 27 of 31 PagelD: 27

206. Defendants violated the NJLAD by having discriminated against, disparately
treated, harassed, created a hostile work environment, and terminated Plaintiff as alleged. supra.

207. As adirect and proximate result of Defendants’ discrimination, Plaintiff has
suffered loss of wages including loss of back pay, loss of front pay, loss of amenities of
employment, out of pocket expenses, emotional damages, loss of reputation, and other similar
damages, all to Plaintiff's great detriment.

208. Defendants’ actions were willful and wanton and thus required the imposition of
Punitive Damages.

209. Plaintiff seeks payment for costs and reasonable attorney’s fees.

210. Alternatively, as Defendants’ considered and/or were motivated by wrongful
discrimination, Plaintiffis entitled to a charge for mixed-motive discrimination and thus of

attorney’s fees.

SEVENTH CAUSE OF ACTION
UNDER NEW JERSEY STATE LAW
RETALIATION

(against all Defendants)

211. Plaintiff repeats and realleges each and every allegation made in the above
paragraphs of this complaint.

212. New Jersey’s Law against Discrimination Section 10:5-12(d) sets forth that it is
unlawful “[fJor any person to take reprisals against any person because that person has opposed
any practices or acts forbidden under this act or because that person has filed a complaint,
testified or assisted in any proceeding under this act or to coerce, intimidate, threaten or interfere

with any person in the exercise or enjoyment of, or on account of that person having aided or

27
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 28 of 31 PagelD: 28

encouraged any other person in the exercise or enjoyment of, any right granted or protected by
this act.

213. Defendants violated this section as set forth herein.

EIGHTH CAUSE OF ACTION
UNDER NEW JERSEY STATE LAW
AIDING AND ABETTING

214. Plaintiff, individually and on behalf of all persons similarly situated, repeats and
realleges each and every allegation made in the above paragraphs of this complaint.

215. New Jersey’s Law against Discrimination Section 10:5-12(e) sets forth in
pertinent part as follows: “Unlawful employment practices, discrimination. It shall be an
unlawful employment practice, or, as the case may be, an unlawful discrimination: e) For any
person, whether an employer or an employee or not, to aid, abet, incite, compel or coerce the
doing of any of the acts forbidden under this act, or to attempt to do so.”

216. Defendants engaged in an unlawful discriminatory practice by aiding and abetting
the discrimination against the Plaintiff as set forth herein.

217. Defendants violated all other applicable sections of N.J. Stat. § 10:5-12(e) et. Seq.

218. As such, Plaintiff has been damaged as set forth herein.

28
Case 3:19-cv-16988-MAS-ZNQ Document1 Filed 08/20/19 Page 29 of 31 PagelD: 29

JURY DEMAND

Plaintiff requests a jury trial on all issued to be tried.

PRAYER FOR RELIEF
WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally,
in an amount to be determined at the time of trial plus interest, punitive damages, liquidated
damages, statutory damaged, attorney’s fees, costs, and disbursement of action; and for such

other relief as the Court deems just and proper.

DEREK SMITH LAW GROUP, PLLC

Catherine Smith, Esquire

1835 Market Street, Suite 2950
Philadelphia, Pennsylvania 19103
Phone: 215.391.4790

Email: Catherine@dereksmithlaw.com

DATED: August 20, 2019

29
1844 (Rev. 06/197ASE 3:19-cv-16988-MAS-ZN@)PACYSTE R SERGE O/19 Page 30 of 31 PagelD: 30

The JS 44 civil cover sheet and the information contained herein neither elses nor supplement the filing and service of pleadings or other papers as required by law, except as
e

provided by local rules of court. This form, approved by the Judicial Con

rence of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS
Amy Cuccio 24 Michael Avenue, Milltown, NJ

(b) County of Residence of First Listed Plaintiff

(EXCEPT IN U.S. PLAINTIFF CASES)

(¢) Attorneys (Firm Name, Address, and Telephone Number)

Catherine Smith catherine@dereksmithlaw.com
Derek Smith Law Group 2950 Market Street, Suite 2950 19103

DEFENDANTS

The Home Depot, Inc., at al
1990 Route 9, Howell, NJ 07731

County of Residence of First Listed Defendant =
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

08850

NOTE:

Attomeys (If Known)

Unknown

 

 

IL. BASIS OF JURISDICTION (Piace an “x” in One Box Only)

1. U.S. Government

Plaintiff

Bf 3 Federal Question

O02 U.S. Government
Defendant

O 4 Diversity

(U.S. Government Not a Party)

(Indicate Citizenship of Parties in Item III)

 

I. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plainti
(For Diversity Cases Only) and One Box for Defendant)
PTF DEF PTF DEF
Citizen of This State 1 O 1 Incorporated or Principal Place O4 04
of Business In This State
Citizen of Another State O 2 © 2 Incorporated and Principal Place as 645
of Business In Another State
Citizen or Subject of a O03 © 3. Foreign Nation o6 O86
Foreign Country

 

IV. NATURE OF SUIT (Piace an “x” in One Box Only)

 

 

Click here for: Nature of Suit Code Descriptions.
FORFEITURE/PENALTY BANKRUPTCY OTHER re U TES

 

 

 

 

 

 

 

 

 

& CONTRACT TORTS
CO 110 Insurance PERSONAL INJURY PERSONAL INJURY  |C) 625 Drug Related Seizure O 422 Appeal 28 USC 158 0 375 False Claims Act
1 120 Marine 6 310 Airplane © 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal 3 376 Qui Tam (31 USC
O 130 Miller Act © 315 Airplane Product Product Liability OG 690 Other 28 USC 157 3729(a))
O) 140 Negotiable Instrument Liability © 367 Health Care/ 0 400 State Reapportionment
C150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPER’ 6 410 Antitrust
& Enforcement of Judgment Slander Personal Injury CO) 820 Copyrights 0 430 Banks and Banking
© 151 Medicare Act 0 330 Federal Employers’ Product Liability O 830 Patent O 450 Commerce
0 152 Recovery of Defaulted Liability O 368 Asbestos Personal 0 835 Patent - Abbreviated 0) 460 Deportation
Student Loans 6 340 Marine Injury Product New Drug Application |( 470 Racketeer Influenced and
(Excludes Veterans) © 345 Marine Product Liability O 840 Trademark Corrupt Organizations
C1 153 Recavery of Overpayment Liability PERSONAL PROPERTY LAB ZEAL SECURIT! 0 480 Consumer Credit
of Veteran’s Benefits O 350 Motor Vehicle © 370 Other Fraud © 710 Fair Labor Standards O 861 HIA (1395ff) © 490 Cable/Sat TV
© 160 Stockholders’ Suits ( 355 Motor Vehicle CO 371 Truth in Lending Act 0) 862 Black Lung (923) ©) 850 Securities/Commodities/
© 190 Other Contract Product Liability © 380 Other Personal © 720 Labor/Management O 863 DIWC/DIWW (405(g)) Exchange
C1 195 Contract Product Liability | 360 Other Personal Property Damage Relations O 864 SSID Title XVI © 890 Other Statutory Actions
C1 196 Franchise Injury C385 Property Damage C1 740 Railway Labor Act O 865 RSI (405(g)) 891 Agricultural Acts
0) 362 Personal Injury - Product Liability © 751 Family and Medical © 893 Environmental Matters
Medical Malpractice Leave Act C1 895 Freedom of Information
I REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _|C 790 Other Labor Litigation FEDERAL TAX SUITS Act
O 210 Land Condemnation © 440 Other Civil Rights Habeas Corpus: © 791 Employee Retirement O 870 Taxes (U.S. Plaintiff O 896 Arbitration
220 Foreclosure 0 441 Voting © 463 Alien Detainee Income Security Act or Defendant) © 899 Administrative Procedure
C1 230 Rent Lease & Ejectment $€ 442 Employment © 510 Motions to Vacate O 871 IRS—Third Party Act/Review or Appeal of
0 240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 Agency Decision
© 245 Tort Product Liability Accommodations (7 530 General © 950 Constitutionality of
© 290 All Other Real Property 0 445 Amer. w/Disabilities -] 535 Death Penalty IMMIGRATION State Statutes
Employment Other: (©) 462 Naturalization Application

Other
O 448 Education

 

© 446 Amer. w/Disabilities -

© 540 Mandamus & Other

O 550 Civil Rights

O 555 Prison Condition

560 Civil Detainee -
Conditions of

 

 

© 465 Other Immigration
Actions

 

 

 

Confinement
V. ORIGIN (Place an “X” in One Box Only)
I Original 2 Removed from O 3 Remanded from O 4 Reinstatedor © 5S Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

 

 

Brief description of cause:

 

VIL. REQUESTED IN
COMPLAINT:

() CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cv.P.

VI. RELATED CASE(S)

DEMAND $

CHECK YES only if demanded in complaint:

JURY DEMAND: _Jif Yes

ONo

 

 

(See instructions):
IF ANY JUDGE > DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP

JUDGE

MAG, JUDGE
JS 44 Reverse (H@QGE)3:19-cv-16988-MAS-ZNQ Document 1 Filed 08/20/19 Page 31 of 31 PagelD: 31

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)

(b)

(c)

Il.

VI.

VI.

Viti.

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box,

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box | or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the

citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above, Mark this
section for each principal party.

Nature of Suit. Place an'"X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable, Click here for: Nature of Suit Code Descriptions.

Origin. Place an "X" in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
When the petition for removal is granted, check this box,

Remanded from Appellate Court, (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.
Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.

PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand, In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
